         Case 1:20-cv-10866-FDS Document 10 Filed 09/29/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


 MERIDITH JONES,

                       Plaintiff,                        Case No. 1:20-cv-10866

        v.

 GROVE COLLABORATIVE, INC.,

                       Defendant.


              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       PLEASE TAKE NOTICE that Plaintiff Meridith Jones voluntarily dismisses all claims

alleged in the case, Jones v. Grove Collaborative, Inc., No. 1:20-cv-10866, with prejudice, and

with each party bearing her and its own costs.

       Dated: September 29, 2020             Respectfully Submitted,

                                             /s/ Jason M. Leviton
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         Case 1:20-cv-10866-FDS Document 10 Filed 09/29/20 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: September 29, 2020                         /s/ Jason M. Leviton
                                                   Jason M. Leviton
